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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION
UNITED STATES OF AMERICA

        VS                                                          CASE NO. 3:01cr22/RV

WILLIAM C ROBERTSON, SR

                               REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on February 2, 2006
Motion/Pleadings: Motion to eliminate enhancements and reduce sentence
Filed by Defendant                         on 1/24/06            Doc.# 120
RESPONSES:
United States                              on 1/31 /2006         Doc.# 121
                                           on                    Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                           WILLIAM M. McCOOL, CLERK OF COURT

                                           s/Jerry Marbut
LC (1 OR 2)                              Deputy Clerk: Jerry Marbut

                                       ORDER
Upon    consideration   of   the   foregoing,   it   is   ORDERED   this   2nd     day   of
 February               , 2006, that:
(a) The relief requested is DENIED for lack of jurisdiction.
(b)




                                          /s/ Roger Vinson
                                                         ROGER VINSON
                                             Senior United States District Judge
